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                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF MISSISSIPPI
                          NORTHERN DIVISION

SECURITIES AND EXCHANGE                   No: 3:18-cv-252
COMMISSION,
                                          Carlton W. Reeves, District Judge
          Plaintiffs,

     v.

ARTHUR LAMAR ADAMS AND
MADISON TIMBER PROPERTIES, LLC,

          Defendants.




                          RECEIVER’S REPORT

                              August 23, 2019




                                         /s/ Alysson Mills
                                  Alysson Mills, Miss. Bar No. 102861
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                                  201 St. Charles Avenue, Suite 4600
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                                  Receiver for Arthur Lamar Adams and
                                  Madison Timber Properties, LLC
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Introduction

        For many years Arthur Lamar Adams, through his companies Madison Timber Company,
Inc. and Madison Timber Properties, LLC, operated a Ponzi scheme that defrauded hundreds of
investors. On May 9, 2018, Adams pleaded guilty to the federal crime of wire fraud. On October
30, 2018, he was sentenced to 19.5 years in prison.

        On June 22, 2018, the Court appointed me Receiver of the estates of Adams and Madison
Timber. The order of appointment sets forth my responsibilities and duties. Among other things,
the order instructs me to take any action necessary and appropriate to preserve the assets of Adams
and his businesses, to maximize funds available for distributions to victims. I have undertaken
these tasks with substantial assistance from my counsel, including principally Brent Barriere and
Lilli Bass.

        The Court instructed me to file a report of my progress every 60 days. I filed my last report
on June 17, 2019, and this report picks up where that report left off. It does not repeat the same
information, except as necessary for context. It contains the following parts:

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        As always, my reports are for the Court’s benefit, but I write them for a broader audience,
knowing that they may be read by non-lawyers including victims. I remain sensitive to potential
ongoing criminal investigations and do not disclose information that might impair their progress.




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Recent filings or events—criminal

        United States v. Adams, No. 3:18-cr-88

        None.


        United States v. McHenry, No. 3:19-cr-20

        The U.S. Attorney’s Office for the Southern District of Mississippi charged Bill McHenry
with securities and commodities fraud and wire fraud earlier this year. The Court set a trial date
of September 3, 2019.1


Recent filings or events—civil

        Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-252

        Settlement—Century Club Charities: On July 19, 2019, the Court approved a settlement
agreement2 whereby Century Club Charities agreed to return to the Receivership Estate $56,944,
reflecting the amount of contributions it received from Adams and Wayne Kelly, minus the value
of tangible benefits received by Adams and Kelly for those contributions. The settlement
agreement is available at madisontimberreceiver.com.

        Sale—interest in Mallard Park, LLC: On August 16, 2019, the Court approved a purchase
agreement3 whereby the Receivership Estate sold its 25% interest in Mallard Park, LLC for
$175,000. The purchase agreement is available at madisontimberreceiver.com.

        Settlement—Berachah Church and R.B. Thieme, Jr. Bible Ministries: On August 16, 2019,
the Court approved a settlement agreement4 whereby Berachah Church and R.B. Thieme, Jr. Bible
Ministries agreed to return to the Receivership Estate $280,530.50, reflecting 100% of the
contributions they received from Adams and 95% of the contributions they received from Wayne
Kelly. The settlement agreement is available at madisontimberreceiver.com.



1
  Doc. 24, United States v. McHenry, No. 3:19-cr-20 (S.D. Miss.).
2
  Doc. 162, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-252 (S.D. Miss.).
3
  Doc. 171, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-252 (S.D. Miss.).
4
  Doc. 172, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-252 (S.D. Miss.).
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           Settlement—Operation Grace World Ministries: On August 16, 2019, the Court approved
a settlement agreement5 whereby Operations Grace World Ministries agreed to return to the
Receivership Estate $39,325, reflecting 100% of the contributions it received from Adams and
95% of the contributions it received from Wayne Kelly. The settlement agreement is available at
madisontimberreceiver.com.

           Proposed settlement—First National Bank of Clarksdale: On August 20, 2019, I submitted
to the Court a proposed settlement with First National Bank of Clarksdale (“FNBC”). In exchange
for the Receivership Estate’s release of claims, FNBC agrees to make a cash payment of
$4,000,000 to the Receivership Estate. FNBC also agrees to give the Receivership Estate a 60-day
“tender period” within which it may satisfy Oxford Springs’s debt to FNBC, currently $4,552,113,
by making a lump sum payment of $4,000,000 to FNBC.

           The proposed settlement’s value to the Receivership Estate far exceeds $4,000,000, as it
will result in the Receivership Estate’s owning a 100% interest in Oxford Springs and retaining all
the proceeds from the future sale of Oxford Springs’s property. This is also the first proposed
settlement with a party who was not a recruiter for Madison Timber. I appreciate FNBC’s
cooperation in reaching a resolution that results in a substantial benefit to the Receivership Estate.

           The proposed order approving settlement includes a channeling injunction, sometimes
called a “bar order,” which would bar any person from separately asserting claims against FNBC
arising out of FNBC’s banking relationship with Adams or Madison Timber and any role that
FNBC may be alleged to have had in the Madison Timber Ponzi scheme. Those claims instead
would be “channeled” through the Receivership Estate.

           I am mindful that victims of the Madison Timber Ponzi scheme, as the ultimate
beneficiaries of the Receivership Estate, have a substantial interest in the Receivership Estate’s
claims against FNBC and their proposed resolution. I have asked the Court to set a hearing at
which interested parties will be given the opportunity to comment on the settlement before it is
approved. The proposed settlement agreement with FNBC and related filings are available at
madisontimberreceiver.com.


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    Doc. 173, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-252 (S.D. Miss.).
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           Proposed settlement—Patrick Sands: On August 23, 2019, I submitted to the Court a
proposed settlement6 whereby Patrick Sands agrees to convey to the Receivership Estate his 47.5%
interest in Oxford Springs, LLC and separately release the Receivership Estate of any claim by
him to amounts due under his outstanding Madison Timber promissory notes in exchange for the
Receiver’s obtaining from FNBC a release of his guarantees of FNBC’s loans to Oxford Springs,
LLC. Together the proposed settlements with FNBC and Sands will result in the Receivership
Estate’s owning a 100% interest in Oxford Springs and retaining all the proceeds from the future
sale of Oxford Springs’s property. The proposed settlement agreement is available at
madisontimberreceiver.com.


           Alysson Mills v. Michael D. Billings, et al., No. 3:18-cv-679

           The complaint against Mike Billings, Wayne Kelly, and Bill McHenry, filed October 1,
2018, alleged they received millions of dollars in “commissions” in exchange for their recruitment
of new investors to Madison Timber. Wayne Kelly already settled with the Receivership Estate.

           Mike Billings: On August 16, 2019, the Court approved a settlement agreement with Mike
Billings7 whereby he shall transfer the following assets currently in his possession to the
Receivership Estate:

                  $325,000 in cash currently sitting bank accounts and

                  his 5% interest in Oxford Springs.

           In addition, Billings shall, among other things:

                  execute a promissory note in the original principal amount of $500,000 due and
                   payable in four years that may be prepaid in the amount of $187,500 if paid in 365
                   days, $250,000 if paid in 547 days, or $312,500 if paid in 730 days;

                  restate his federal and state income tax returns for the years in question, as permitted
                   by law, and transfer 90% of any refunds received to the Receivership Estate; and

                  cooperate with ongoing efforts to recover money for the Receivership Estate.



6
    Doc. 177, Securities & Exchange Commission vs. Adams, et al., No. 3:18-cv-252 (S.D. Miss.).
7
    Doc. 61, Alysson Mills vs. Michael D. Billings, et al., No. 3:18-cv-00679 (S.D. Miss).
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           Unlike the Receivership Estate’s settlement with Wayne Kelly, the settlement with Billings
does not include what is known as a “bar order” which would bar any person from asserting claims
against Billings arising out of his role in the Madison Timber Ponzi scheme. The settlement
agreement is available at madisontimberreceiver.com.

           Bill McHenry: On August 16, 2019, the Court granted my motion for summary judgment
against Bill McHenry and entered final judgment against him in the amount of $3,473,320,
reflecting the “commissions” he received from Madison Timber.8 The order is available is
madisontimberreceiver.com.


           Alysson Mills v. Butler Snow, et al., No. 3:18-cv-866

           The complaint against Butler Snow LLP; Butler Snow Advisory Services, LLC; Matt
Thornton; Baker, Donelson, Bearman, Caldwell & Berkowitz, PC; Alexander Seawright, LLC;
Brent Alexander; and Jon Seawright, filed December 19, 2018, alleges the law firms and their
agents lent their influence, their professional expertise, and even their clients to Adams and
Madison Timber. None of the defendants has settled with the Receivership Estate.

           Butler Snow: The Butler Snow defendants have argued that the case against them should
be submitted to private arbitration. I have argued, among other things, that private arbitration is in
no one’s interest, except Butler Snow’s. The Butler Snow defendants’ motion and related filings
are available at madisontimberreceiver.com. As of this filing the Court had not issued a ruling.

           Baker Donelson: Baker Donelson filed a motion to dismiss all claims against it, which I
opposed. Baker Donelson’s motion and related filings are available at madisontimberreceiver.com.
As of this filing the Court had not issued a ruling.

           Alexander Seawright: The Alexander Seawright defendants filed a motion to dismiss all
claims against them, which I opposed. The Alexander Seawright defendants’ motion and related
filings are available at madisontimberreceiver.com. As of this filing the Court had not issued a
ruling.




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    Doc. 62, Alysson Mills vs. Michael D. Billings, et al., No. 3:18-cv-00679 (S.D. Miss).
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       Alysson Mills v. BankPlus, et al., No. 3:19-cv-196

       The complaint against BankPlus; BankPlus Wealth Management, LLC; Gee Gee Patridge,
Vice President and Chief Operations Officer of BankPlus; Stewart Patridge; Jason Cowgill; Martin
Murphree; Mutual of Omaha Insurance Company; and Mutual of Omaha Investor Services, Inc.,
filed March 20, 2019, alleges the financial institutions and their agents lent their influence, their
professional services, and even their customers to Madison Timber, establishing for it a de facto
DeSoto County headquarters within BankPlus’s Southaven, Mississippi branch office. None of the
defendants has settled with the Receivership Estate.

       BankPlus: BankPlus filed a motion to dismiss all claims against it, which I opposed.
BankPlus’s motion and related filings are available at madisontimberreceiver.com. As of this filing
the Court had not issued a ruling.

       Gee Gee Patridge: Gee Gee Patridge, Vice President and Chief Operations Officer of
BankPlus, filed a motion to dismiss all claims against it, which I opposed. Gee Gee Patridge’s
motion and related filings are available at madisontimberreceiver.com. As of this filing the Court
had not issued a ruling.

       Martin Murphree: Murphree, a former agent of BankPlus and Mutual of Omaha, filed an
answer to the complaint on May 22, 2019. The answer is available at madisontimberreceiver.com.

       Jason Cowgill: Cowgill, a former manager of BankPlus’s Southaven, Mississippi branch,
filed a motion to dismiss all claims against him, which I opposed. Cowgill’s motion and related
filings are available at madisontimberreceiver.com.

       Mutual of Omaha: Mutual of Omaha filed a motion to dismiss all claims against it, which
I opposed. Mutual of Omaha’s motion and related filings are available at madisontimber
receiver.com.

       Stewart Patridge: Stewart Patridge, a former agent of BankPlus and Mutual of Omaha,
filed an answer to the complaint on July 1, 2019. The answer is available at
madisontimberreceiver.com.



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        Alysson Mills v. The UPS Store, Inc., et al., No. 3:19-cv-364

        The complaint against The UPS Store, Inc.; Herring Ventures, LLC d/b/a The UPS Store;
Austin Elsen; Tammie Elsen; Courtney Herring; Diane Lofton; Chandler Westover; Rawlings &
MacInnis, PA; Tammy Vinson; and Jeannie Chisholm, filed May 23, 2019 and amended June 13,
2019, alleges the defendants are the notaries and their employers on whom Lamar Adams
principally relied to notarize fake timber deeds. None of the defendants has settled with the
Receivership Estate.

        Rawlings & MacInnis: Rawlings & MacInnis, PA; Tammy Vinson; and Jeannie Chisholm
filed a motion to dismiss all claims against it on August 8, 2019. That motion and related filings
are available at madisontimberreceiver.com.

        The UPS Store Madison: I expect Herring Ventures, LLC d/b/a The UPS Store; Austin
Elsen; Tammie Elsen; Courtney Herring; Diane Lofton to file a motion to dismiss or other
responsive pleading on or before August 25, 2019.

        UPS: I expect The UPS Store, Inc. to file a motion to dismiss or other responsive pleading
on or before August 29, 2019.

        I will respond to all defendants’ motions to dismiss or other responsive pleadings on or
before September 12, 2019.

        Securities & Exchange Commission v. Kelly, et al., No. 3:19-cv-585

        On August 20, 2019, the Securities and Exchange Commission filed a civil complaint
charging Wayne Kelly with the sale of unregistered securities, fraud in the purchase or sale of
securities, fraud in the offer or sale of securities, and the sale of securities while unregistered. The
complaint alleges Kelly provided false information to investors by telling them that their money
would be used by Madison Timber to secure and harvest timber.

        On August 21, 2019, the Securities and Exchange Commission announced a settlement
with Kelly whereby he consents to the entry of a judgment:

               permanently restraining and enjoining him from further violations of federal
                securities laws;

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              disgorging his ill-gotten gains, in an amount to be determined; and

              ordering that he pay civil penalties, in an amount to be determined.

       The Securities and Exchange Commission’s filings and press release are available at
madisontimberreceiver.com.


Receiver’s actions in the past 60 days

       Since I filed my last report on June 17, 2019, I have:


       Continued to litigate Alysson Mills v. Michael D. Billings, et al., No. 3:18-cv-679

       As summarized above, I finalized settlement with Mike Billings, and the Court granted my
motion for summary judgment against Bill McHenry.


       Continued to litigate Alysson Mills v. Butler Snow, et al., No. 3:18-cv-866

       As summarized above, I previously filed oppositions to the Butler Snow defendants’
motion to compel arbitration and Baker Donelson’s and the Alexander Seawright defendants’
motions to dismiss. As of this filing the Court had not issued a ruling on those motions.


       Continued to litigate Alysson Mills v. BankPlus, et al., No. 3:19-cv-196

       As summarized above, I previously filed oppositions to the motions to dismiss filed by
BankPlus; Gee Gee Patridge, Vice President and Chief Operations Officer of BankPlus; Jason
Cowgill; and Mutual of Omaha. As of this filing the Court had not issued a ruling on those
motions.


       Filed Alysson Mills v. The UPS Store, Inc., et al., No. 3:19-cv-364

       As summarized above, I previously filed a complaint and an amended complaint against
The UPS Store, Inc.; Herring Ventures, LLC d/b/a The UPS Store; Austin Elsen; Tammie Elsen;
Courtney Herring; Diane Lofton; Chandler Westover; Rawlings & MacInnis, PA; Tammy Vinson;
and Jeannie Chisholm. As of this filing the Rawlings & MacInnis defendants had filed a motion to


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dismiss, and the remaining defendants are expected to file motions to dismiss or other responsive
pleadings by the end of the month.


       Continued to account for “commissions” and gifts

       I continue to account for “commissions” paid by Adams, Madison Timber, or Wayne Kelly
to individuals in exchange for their assistance in recruiting new investors to the Madison Timber
Ponzi scheme. I continue to account for gifts that Adams or Wayne Kelly made with proceeds
from Madison Timber.

       Century Club Charities: As summarized above, Century Club Charities returned to the
Receivership Estate $56,944 that it received from Lamar Adams and Wayne Kelly.

       Berachah Church and R.B. Thieme, Jr. Bible Ministries: As summarized above, Berachah
Church and R.B. Thieme, Jr. Bible Ministries returned to the Receivership Estate $280,530.50 that
they received from Lamar Adams and Wayne Kelly.

       Operation Grace World Ministries: As summarized above, Operations Grace World
Ministries returned to the Receivership Estate $39,325 that it received from Lamar Adams and
Wayne Kelly.


       Continued to review records

       To date I have received and reviewed records from Wayne Kelly, Mike Billings, Alexander
Seawright, Brent Alexander, Jon Seawright, First Bank of Clarksdale, Southern Bancorp, River
Hills Bank, Community Bank, Jefferson Bank, Trustmark Bank, BankPlus, Southern AgCredit,
Adams’s and Madison Timber’s accounting firm, Butler Snow, Rawlings & MacInnis, Madison
Trust Company (no relation to Madison Timber), Pinnacle Trust, and The UPS Store. I continue
to request and review additional records as necessary to assess the Receivership Estate’s rights
against third parties that had professional relationships with Adams or Madison Timber.




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       Worked with LLCs of which Adams was a member

       Adams was a member of at least six active limited liability companies (“LLCs”) that own
real estate. The Receivership Estate has already resolved its interests in 707, LLC; Delta Farm
Land Investments, LLC; and KAPA Breeze, LLC. The status of the remaining LLCs is as follows:

       Mallard Park, LLC: As summarized above, I entered a purchase agreement whereby the
Receivership Estate sold its 25% interest in Mallard Park, LLC for $175,000. The Court approved
the purchase agreement on August 16, 2019.

       MASH Farms, LLC: The LLC’s principal asset is 808+ acres with a hunting camp in
Sunflower County, Mississippi. I have obtained an appraisal of that property and have had
preliminary negotiations with the LLC’s other members regarding the purchase of the
Receivership Estate’s 25% interest. I will consider any offer by any party to purchase the
Receivership Estate’s interest for a price that I believe is fair, and I encourage interested parties to
contact me directly (504-586-5253). If I am unable to sell the Receivership Estate’s interest, I will
evaluate other options available to the Receivership Estate.

       Oxford Springs, LLC: The LLC attempted, but failed, to sell its principal asset, 2,300+/-
acres of undeveloped land in Lafayette County, Mississippi, earlier this year.

       As a result of the failed sale, my counsel and I reassessed the Receivership Estate’s options.
Oxford Springs’s property is valuable and can be sold for several millions of dollars, but no sale
will meaningfully benefit the Receivership Estate so long as it must first pay off its bank, FNBC,
and its other members. To maximize Oxford Springs’s value to the Receivership Estate, we
devised a plan to own 100% of Oxford Springs and to sell its property free and clear of its debts.
Consistent with that plan, we undertook negotiations with FNBC, Patrick Sands, and Mike
Billings.

       As summarized above, we negotiated a proposed settlement with FNBC whereby it agrees
to make a cash payment of $4,000,000 to the Receivership Estate and to give the Receivership
Estate a 60-day “tender period” within which it may satisfy Oxford Springs’s debt to FNBC,
currently $4,552,113, by making a lump sum payment of $4,000,000 to FNBC. Separately, we
negotiated a proposed settlement with Sands whereby he agrees to convey to the Receivership

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Estate his 47.5% interest in Oxford Springs in exchange for my obtaining from FNBC a release of
his guarantees of FNBC’s loans to Oxford Springs. I obtained from Billings his 5% interest in
Oxford Springs in a settlement that the Court approved on August 16, 2019.

       If the Court grants the motions for approval of proposed settlements with FNBC and Sands,
the Receivership Estate will own 100% of Oxford Springs and can sell its property free and clear
of Oxford Springs’s debt to FNBC. The proceeds of a future sale will go entirely to the
Receivership Estate.


       Conferred with federal and state authorities

       I have continued to confer with the U.S. Attorney’s Office for the Southern District of
Mississippi, the FBI, the Securities and Exchange Commission, the Mississippi Secretary of
State’s Office, and the Mississippi Department of Banking and Consumer Finance.


       Communicated with investors in Madison Timber

       I have continued to communicate with investors in Madison Timber via phone, letter,
email, and in-person meetings. I speak to investors almost daily.


       Interviewed persons with knowledge

       I have continued to interview individuals with first-hand knowledge of matters bearing on
the Receivership Estate.


       Researched legal claims against third parties

       My colleagues and I research legal claims against third parties as new facts are discovered.
I do not publish our assessments here because to do so would be to telegraph our legal strategies
to future defendants.




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Receiver’s plan for the next 60 days

       Continue to litigate Alysson Mills v. Michael D. Billings, et al., No. 3:18-cv-679

       I intend to collect from Mike Billings the amounts due under his settlement agreement and
collect from Bill McHenry the amounts due under this Court’s judgment against him.


       Continue to litigate Alysson Mills v. Butler Snow, et al., No. 3:18-cv-866

       As noted above, I await the Court’s rulings on the Butler Snow defendants’ motion to
compel arbitration and Baker Donelson’s and the Alexander Seawright defendants’ motions to
dismiss.


       Continue to litigate Alysson Mills v. BankPlus, et al., No. 3:19-cv-196

       As noted above, I await the Court’s rulings on the motions to dismiss filed by BankPlus;
Gee Gee Patridge, Vice President and Chief Operations Officer of BankPlus; Jason Cowgill; and
Mutual of Omaha.


       Continue to litigate Alysson Mills v. The UPS Store, Inc., et al., No. 3:19-cv-364

       As noted above, I expect to file oppositions to motions dismiss or other responsive
pleadings filed or to-be-filed by The UPS Store, Inc.; Herring Ventures, LLC d/b/a The UPS Store;
Austin Elsen; Tammie Elsen; Courtney Herring; Diane Lofton; Chandler Westover; Rawlings &
MacInnis, PA; Tammy Vinson; and Jeannie Chisholm.

       Continue to account for “commissions” and gifts

       As noted above, I continue to account for “commissions” paid by Lamar Adams, Madison
Timber, or Wayne Kelly to individuals in exchange for their assistance in recruiting new investors
to the Madison Timber Ponzi scheme. I continue to account for gifts that Lamar Adams or Wayne
Kelly made with proceeds from Madison Timber.

       Monetize Adams’s interests in the remaining three LLCs

       For the remaining two LLCs, I intend to liquidate the Receivership Estate’s interests to
maximize value to the Receivership Estate:
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           Mash Farms, LLC: I want to sell the Receivership Estate’s 25% interest on terms that are
in the best interests of the Receivership Estate. I will continue to consider a sale to the LLC’s other
members but, as noted above, I will consider any offer by any party that I believe is fair, and I
encourage interested parties to contact me directly (504-586-5253). If I am unable to sell the
Receivership Estate’s interest, I will evaluate other options available to the Receivership Estate.

           Oxford Springs, LLC: If the Court grants the motions for approval of proposed settlements
with FNBC and Patrick Sands, the Receivership Estate will own 100% of the LLC and I will sell
its property free and clear of the LLC’s debt to FNBC.


           File additional lawsuits

           I intend to file additional lawsuits against third parties that contributed to the debts of
Madison Timber, and therefore to the debts of the Receivership Estate, so long as new information
justifies it. To protect the Receivership Estate’s position, I am not disclosing publicly third-party
targets.

           I intend to file additional lawsuits to recover commissions, fraudulent transfers, and gifts
as necessary to recover money that belongs to the Receivership Estate.


           Continue communicating with investors

           I intend to continue communicating with investors, through my website, email, phone, and
letters. Investors provide information that is useful to my investigation and, in turn, I hope that I
demystify the receivership process for them.




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Summary of status of assets

        My end goal is to make an equitable distribution to victims with the money I recover.

Although I continue to recover money from various third parties, the money that I have recovered

to date would not go far. As I have advised, it may take a long time and a lot of work to recover

enough money to make a meaningful distribution, but I am committed to pursuing recoveries for

the benefit of victims so long as the Court allows. The Receivership Estate’s most valuable assets

are the lawsuits it has filed or intends to file.


        The current status of the Receivership Estate’s assets is as follows:

Receivership Estate’s account at Hancock Bank                        current balance $5,965,531.08
Previous balance as of June 17, 2019                 $5,127,603.24
Sale proceeds—134 Saint Andrews                      +$350,777.38
Sale—interest in Mallard Park, LLC                   +$175,000.00
Settlement—Century Club Charities                     +$56,944.00
Settlement—Berachah Church                           +$175,904.00
Settlement—R.B. Thieme, Jr.                          +$104,626.50
Settlement—Operation Grace World                      +$39,325.00
Interest                                              +$13,366.66
Bank fees                                                 -$ 24.00
Receiver’s counsel’s fees/expenses                     -$90,991.70


Alysson Mills vs. Michael D. Billings, et al., No. 3:18-cv-679
Lawsuit to recover $16,000,000 in commissions
                                                                         settlement with Billings:
                                                                            $325,000 due now
                                                                            plus 5% interest in
                                                                          Oxford Springs, LLC;
                                                                      promissory note in the original
                                                                       principal amount of $500,000
                                                                                outstanding

                                                                       judgment against McHenry:
                                                                              $3,473,320




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Alysson Mills vs. Butler Snow, et al., No. 3:18-cv-866
Lawsuit to hold law firms liable for debts of the Receivership                litigation ongoing
Estate


Alysson Mills vs. BankPlus, et al., No. 3:19-cv-196
Lawsuit to hold bank and financial services company liable for                litigation ongoing
debts of the Receivership Estate


Alysson Mills v. The UPS Store, Inc., et al., No. 3:19-cv-364
Lawsuit to hold notaries liable for debts of the Receivership Estate          litigation ongoing


Settlement—Wayne Kelly                                                      received $1,384,435.17
                                                                        plus interests in 707, 315 Iona,
                                                                           and KAPA Breeze, LLCs
                                                                       promissory note in the original
                                                                        principal amount of $400,000
                                                                                 outstanding


Settlement—Frank Zito                                                          received $100,000,
                                                                                 first installment
                                                                          received $100,000, second
                                                                            and final installment,
                                                                                June 12, 2019


House at 134 Saint Andrews Drive, Jackson, Mississippi                      received $350,777.38
Unencumbered                                                                in proceeds from sale



Condo in Calton Hill subdivision in Oxford, Mississippi                     received $139,919.09
Unencumbered                                                                in proceeds from sale



Jewelry                                                                             for sale



1/4       Mallard Park, LLC
          1,723 acres with hunting lodge in Humphreys County                  received $175,000
          Purchased in 2016 for $2,593,500                                    for sale of interest
          Encumbered by Southern AgCredit mortgage
          Owe approximately $2,000,000



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1/4     Mash Farms, LLC                                                    assessing options
        808+ acres with hunting camp in Sunflower County
        Purchased in 2014 for $1,600,000
        Encumbered by Trustmark Bank mortgage
        Owe approximately $900,000


47.5%   Oxford Springs, LLC                                               settlements with
        2,300+/- acres undeveloped land in Lafayette County            FNBC and Patrick Sands
        Purchased in 2015 and 2016 for total of $6,158,000                     pending
        Encumbered by FNBC mortgage
        Owe approximately $4,500,000


Hartford Life and Annuity Insurance Co. life insurance policy        surrendered for $167,206.60


Lincoln National Life Insurance Co. life insurance policy             surrendered for $3,678.45


1/6     707, LLC                                                     LLC sold principal asset and
        263+ acres recreational land in Holmes County               dissolved; tendered $6,994.09
        Purchased in 2009                                         representing Adams’s, Kelly’s, and
        Encumbered by First Commercial Bank mortgage                    McHenry’s interests to
        Owe approximately $368,000                                     the Receivership Estate


1/3     Delta Farm Land Investments, LLC                             LLC sold principal asset and
        1170+ acres farmland in Oktibbeha County                   dissolved; tendered $323,440.88
        Purchased in 2014 for $2,796,100                           representing Adams’s interest to
        Encumbered by Trustmark Bank mortgage                           the Receivership Estate
        Owe approximately $2,200,000


Settlement—Ole Miss Athletics Foundation                                received $155,084.50,
                                                                           first installment
                                                                        received $155,084.50,
                                                                     second and final installment,
                                                                            April 17, 2019


Marital Property Settlement—Vickie Lynn Adams                             received $58,247
Lump sum payment includes proceeds from sale of Lexus LX 570
and liquidation of Hartford Life and Annuity Insurance Co. life
insurance policy


Settlement—Adams children                                                 received $170,000



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1/2     KAPA Breeze LLC                                                  sold the Receivership Estate’s
        1.5+/- acres mixed-use land on Highway 30A in Florida                 interest for $700,000
        Purchased in 2017 for approximately $1,900,000
        Encumbered by Jefferson Bank mortgage
        Owe approximately $1,365,000


Alexander Seawright—UPS’s funds*                                               holding $100,000


Settlement—Philippi Freedom Ministries                                          received $16,125


Settlement—Rick Hughes Evangelistic Ministries                                received $43,657.95


Settlement—Century Club Charities                                               received $56,944


Settlement—Berachah Church                                                     received $175,904


Settlement—R.B. Thieme, Jr.                                                  received $104,626.50


Settlement—Operation Grace World Missions                                       received $39,325


2018 King Ranch Ford F150 truck                                                 sold for $42,750


Strikethrough indicates asset has been liquidated or proceeds are already accounted for in the Hancock
Bank account balance.

*Holding funds solely as an offset to UPS’s monetary liability for future claims the Receivership Estate
might have against UPS.




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